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                              UNITED STATES DISTRICT COURT
                                    DISTRICT OF UTAH


   SHERRY TERESA, individually and on behalf of
   all others similarly situated,
                                                      PLAINTIFF’S OPPOSITION TO
                          Plaintiff,                  DEFENDANT’S MOTION TO
                                                      DISMISS THE FIRST AMENDED
          v.
                                                      COMPLAINT
   MAYO FOUNDATION FOR MEDICAL
   EDUCATION AND RESEARCH,
                          Defendant.                    Case No. 2:23-cv-00878-HCN-DAO

                                                       District Judge Ann Marie McIff Allen
                                                           Magistrate Judge Paul Kohler
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                                           INTRODUCTION

         In this class action, Plaintiff alleges in her First Amended Complaint (“FAC”) that Mayo

  rented and sold, exchanged, and otherwise disclosed for compensation Plaintiff’s and all of its

  other Utah customers’ nonpublic personal information – including information Defendant had

  gathered in connection with Plaintiff’s subscription to the Mayo Clinic Health Letter – to any third

  party interested in acquiring it, such as data aggregators, data appenders, data cooperatives, and

  aggressive advertisers. The nonpublic personal information Defendant disclosed included

  Plaintiff’s full name, home address, the fact that she subscribed to Mayo Clinic Health Letter,
  details concerning her subscription, and other categories of individualized data and demographic

  information including her gender. And egregiously, Defendant made these disclosures without

  providing Plaintiff or any of its other Utah customers prior notice that it would do so. By disclosing

  Plaintiff’s nonpublic personal information to third parties for compensation without first providing

  Plaintiff clear and conspicuous notice of these practices (and thus an opportunity not to be

  subjected to them before she subscribed), Defendant violated Utah’s Notice of Intent to Sell

  Nonpublic Personal Information Act, Utah Code § 13-37-101, et. seq. (the “NISNPIA”).

           Mayo argues for dismissal of the FAC on four grounds: first, that this Court lacks subject

  matter jurisdiction because NISNPIA purports to bar class actions; second, that Plaintiff does not

  meet the Class Action Fairness Act’s (“CAFA”) $5,000,000 amount-in-controversy threshold;

  third, that Plaintiff and the class lack Article III standing; and fourth, that the FAC fails to state a

  claim because Mayo denies it is a “commercial entity” under the NISNPIA statute. Each of

  Defendant’s arguments is meritless.

           First, Defendant’s argument concerning NISNPIA’s purported class action bar is in

  derogation of Supreme Court precedent. See Shady Grove Orthopedic Assocs., P.A. v. Allstate Ins.

  Co., 559 U.S. 393 (2010) (holding that state law class action bars like the one in the NISNPIA are

  preempted before federal courts sitting in diversity). In a recent thorough and well-reasoned

  decision, Judge Parrish methodically applied Shady Grove’s preemption analysis to NISNPIA,

  holding, under identical facts as here, that because NISNPIA’s class action bar “is not part of


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  Utah’s framework of substantive rights and remedies” Rule 23 preempts NISNPIA’s class action

  bar and plaintiffs may bring a NISNPIA class action in federal courts. Curry v. Mrs. Fields Gifts,

  Inc., No. 2:22-cv-00651-JNP-DBP, 2023 WL 6318108, at *1 (D. Utah Sept. 28, 2023)

  (unpublished). This Court should follow Curry’s reasoning and find the same.

          Second, Defendant’s argument that the FAC should be dismissed because this action

  cannot meet CAFA’s $5,000,000 amount-in-controversy threshold is baseless. Defendant fails to

  demonstrate to a “legal certainty” that Plaintiff cannot meet this threshold. Defendant proffers that

  the damages in this case amount to, at most, $3.8 million based on its assertion that there are 7,633
  unique class members (the number of Utahns between only 2023 and 2024, whose nonpublic

  personal information Defendant admits it sold or rented). But Defendant incorrectly assumes that

  each class member is entitled to a statutory damage award of just $500, when in reality the vast

  majority of class members are entitled to many multiples of that amount. This is because NISNPIA

  entitles a person whose information was sold or disclosed to a third party to $500 in damages for

  each purchase that the person made since January 1, 2004 without first receiving the notice

  specificed in section 13-37-201. And here, the FAC alleges, and Defendant presents no evidence

  to refute, that it uniformly failed to provide the mandated notice to anyone, including any member

  of the class, before anyone made a purchase on or after January 1, 2004 or at any other time before

  Defendant rented and sold all of its customers’ information to third parties. Given that the vast

  majority of class members made multiple purchases of subscriptions to Defendant’s publications

  on a recurring basis over the years since 2004, the amount in controversy in this case plainly

  exceeds $5 million in the aggregate. Additionally, under Utah law, the applicable statute of

  limitations for NISNPIA claims is three years, not one year as Defendant also assumes in the

  Motion. Thus, Defendant comes nowhere close to establishing with any degree of certainty (much

  less with the “legal certainty” necessary to prevail on this issue) that the Class cannot recover more

  than $5,000,000 in the aggregate.

          Third, with respect to Article III standing, Defendant’s disclosures of Plaintiff’s nonpublic

  personal information concretely harmed the very privacy interests the NISNPIA statute confers to


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  Utah consumers – namely, preventing unauthorized disclosures of their nonpublic personal

  information to third parties for compensation and being free from intrusions into one’s private

  affairs and concerns (including personal preferences and purchasing habits). Again, Judge

  Parrish’s thorough and thoughtful analysis of the identical argument in Curry v. Mrs. Fields Gifts,

  Inc., 2024 WL 3794487, at *3-5 (D. Utah Aug. 13, 2024) (unpublished) [hereinafter “Curry II”]

  is instructive. In Curry II, Judge Parrish recognized that disclosures materially similar to those

  alleged in this case harmed privacy interests well rooted in common law, and NISNPIA’s passage

  reflects the determination of the Utah legislature to protect those interests from infringement. Here,
  Defendant’s infringement of Plaintiff’s concrete privacy interests afforded by NISNPIA – in

  preventing disclosures of nonpublic information and being free of intrusions into their personal

  affairs – manifested intangible harm sufficient to satisfy Article III.

          Fourth, Defendant’s argument that it is not subject to NISNPIA because it is not domiciled

  in Utah and, therefore, not a “Commercial Entity” covered by the statute is baseless. The statute

  does not require that a defendant be domiciled in Utah. Rather, it requires only that a defendant

  have an office or place of business in Utah and have conducted a consumer transaction in Utah in

  the ordinary course of business, both of which the FAC alleges.

          The Court has subject matter jurisdiction, and the FAC adequately states a claim for

  violation of NISNPIA. The Motion should be denied in its entirety.

                            THE PERTINENT STATUTORY SCHEME

         Pursuant to the NISNPIA, “[a] commercial entity1 may not disclose nonpublic personal

  information2 that the commercial entity obtained on or after January 1, 2004, as a result of a


  1
    A “commercial entity” is a person that “has an office or other place of business located in [Utah]”
  and “in the ordinary course of business transacts a consumer transaction in [Utah].” Id. § 13-37-
  102(2)(a).
  2
    “Nonpublic personal information” means “information that . . . is not public information” and,
  “either alone or in conjunction with public information, identifies a person in distinction from other
  persons.” Id. § 13-37-102(5)(a). “Nonpublic personal information” expressly includes, inter alia,
  “the purchasing patterns of a person” or “the personal preferences of a person.” Id. § 13-37-
  102(5)(b)(iii)-(iv) (emphasis added).


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  consumer transaction3 if the commercial entity fails to comply with Section 13-37-201.” Utah

  Code § 13-37-202. Section 13-37-201, in turn, requires a commercial entity to provide the

  consumer with notice if “the commercial entity enters into a consumer transaction with that

  person[,]” “as a result of the consumer transaction … the commercial entity obtains nonpublic

  personal information concerning that person[,]” and “the commercial entity intends to or wants

  the ability to disclose the nonpublic personal information … to a third party … for compensation,”

  where such compensation “is the primary consideration for the commercial entity disclosing the

  nonpublic personal information,” and is “directly related to the commercial entity disclosing the
  nonpublic personal information[.]” Id. § 13-37-201(1)(a); § 13-37-201(5).

                                              ARGUMENT

      I.      NISNPIA’s Class Action Bar Is Preempted by Rule 23

           Section 203(3) of the NISNPIA provides that “a person may not bring a class action under

  this chapter.” Utah Code § 13-37-203(3). Under Shady Grove, state law class action bars like the

  one in NISNPIA are preempted before federal courts sitting in diversity unless preemption would

  abridge, enlarge, or modify state law rights or remedies. Shady Grove, 559 U.S. at 393.

           In a nuanced and thorough decision in Curry, Judge Parrish considered the same arguments

  and authorities cited here and held that Rule 23 preempts NISNPIA’s class action bar and such

  actions are cognizable as class actions in federal courts. This Court should follow suit.

           In Shady Grove, Justice Stevens, in concurrence, set forth a two-step analysis to evaluate

  the preemption of a New York statutory provision restricting class actions in a diversity action in

  federal court.4 Step one considers whether the applicable Federal Rule of Civil Procedure – here

  Rule 23 – and the state rule at issue – here Section 203(3)’s class action bar – are “reconcilable,”

  Stender v. Archstone-Smith Operating Tr., 958 F.3d 938, 947 (10th Cir. 2020), or, stated


  3
    “Consumer transaction” means, inter alia, “a sale, lease, assignment, award by chance, or other
  written or oral transfer or disposition … of[] goods[,] services[,] or other tangible or intangible
  property, … that is initiated or completed in [Utah].” Id. § 13-37-102(4)(a)(i) (emphasis added).
  4
    The Tenth Circuit has held that Justice Stevens’ Shady Grove concurrence is controlling. Garman
  v. Campbell Cty. Sch. Dist. No. 1, 630 F.3d 977, 985 (10th Cir. 2010).


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  differently, whether the federal rule and state statue are in “direct collision.” Shady Grove, 559

  U.S. at 421. Step two considers whether, if there is a direct collision between the federal procedural

  rule and the state statutory provision, would application of the federal procedural rule pose a Rules

  Enabling Act problem: would that rule “effectively abridge[], enlarge[], or modif[y] a state-created

  right or remedy.” Id. at 422. Justice Stevens explicitly recognized that, as to this second step, “the

  bar for finding an Enabling Act problem is a high one” and reiterated that “[t]he mere possibility

  that a federal rule would alter a state-created right is not sufficient. There must be little doubt. . . .

  [S]ome effect on the outcome of litigation” is not enough. Id. at 432-33.
          Faithfully applying this two-step approach, Judge Parrish found at Step 1 that “[b]y their

  plain text, Rule 23 and § 203(3) are in direct, unavoidable conflict. Under the former, a class action

  ‘may be maintained.’ [Rule 23(b)]. Under the latter, a class action ‘may not’ be brought by a

  person. Utah Code 13-37-203(3).” Curry, 2023 WL 6318108, at *2.5

          Judge Parrish’s analysis of Shady Grove’s second step recognized that the inquiry looks

  “to the state statute at issue to differentiate between rights and remedies on the one hand, and

  procedures on the other, to ensure that Rule 23 does not overstep the boundaries of the Rules

  Enabling Act or interfere with states’ ability to determine the ‘dimensions’ of a state-created

  claim.” Curry, 2023 WL 6318108, at *6. This analysis was purely textual:

          This issue can be resolved by reference to the relevant statutory “text and context”
          alone. Utah’s NISNPIA, including § 203, labeled “Liability,” at issue here, is
          cleanly divisible into rights, remedies, and procedures. Surgical removal of the
          presumptively procedural class-action bar leaves the rights and remedies otherwise
          provided by the Act totally intact.

  5
    Defendant cites Fullmer v. A-1 Collection Agency, 2022 WL 1538675, at *3 (D. Utah May 16,
  2022) (unpublished), which found Rule 23 was permissive because it uses the word “may” in the
  phrase “may be maintained.” However, as Judge Parrish correctly noted in Curry, Shady Grove’s
  majority holding forecloses that reading by describing Rule 23 as creating a categorical – as
  opposed to permissive – right for plaintiffs in federal court. Curry, 2023 WL 6318108, at *4. Curry
  also considered Caligari v. Blendtec, Inc., 2018 WL 5808805 (D. Utah Nov. 6, 2018)
  (unpublished), also cited by Mayo, which found no conflict between NISNPIA’s class action bar
  and Rule 23. Curry, 2023 WL 6318108, at *3. Judge Parrish found this case to be “neither binding
  nor persuasive” because the “Shady Grove majority opinion entirely forecloses such a
  proposition.” Id.


                                                      5
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         In fact, § 203 itself is comprised of three subsections that neatly track these three
         categories: the first defines the dimensions of the claim and cause of action; the
         second defines the remedies available to litigants under the Act; and the third, of
         particular concern in this case, is a matter of procedure. At one greater degree of
         detail, § 203 is mapped out as follows: § 203(1) … provide[s] the cause of action—
         that is, the claim or right…

         Section 203(2), in turn, creates the applicable remedy by defining what “a court can
         do for a litigant who has been wronged…by creating liability for violating
         commercial entities amounting to $500 “for each time the commercial entity fails
         to provide the notice required by this section in relation to the nonpublic personal
         information of the person who brings the action,” along with court costs. UTAH
         CODE ANN. 13-37-203(2)(a)-(b).

         Section 203(3), however, is neither a statement of rights nor one of remedies. It
         neither dictates what must be pleaded or proved as a cause of action, nor does it
         determine what a plaintiff gets should he prevail on such a claim. Instead, § 203(3)
         is entirely a matter of procedure, merely going to the preferred means of joinder
         and aggregation: “a classically procedural calibration of making it easier to litigate
         claims in [Utah] courts . . . only when it is necessary to do so, and not making it too
         easy when the class tool is not required.” Utah has calibrated the ease of
         aggregating claims under NISNPIA one way through regulation of its state courts
         under the Act, and Congress has elected another calibration through Rule 23 in the
         government of federal courts. In both cases, however, the class action remains a
         quintessentially procedural claims-processing device and, in the specific case of
         NISNPIA, is separable from any elements of Utah’s “framework of substantive
         rights and remedies,” otherwise provided under that Act. [. . .]

         [T]he availability of the procedural mechanism of the class action has “some effect
         on the outcome of litigation,” . . . Given the feasibility of disentangling the
         procedural class-action bar from the rest of the Utah statute, while leaving the rights
         and remedies provided therein intact, this court finds that the “high” bar of finding
         a Rules Enabling Act violation has not been cleared.

  Curry, 2023 WL 6318108, at *6.
         Defendant argues that Curry does not give “adequate weight to Justice Steven’s controlling

  analysis[.]” (Mot. at n. 4). But Judge Parrish applied Justice Steven’s framework methodically.

  Defendant also suggests Curry is insufficiently “nuanced.” (Mot. at 8). Not so. Indeed, if 5,000

  members of a potential class action were all entitled to statutory damages under § 113-37-203, the

  scope of Defendant’s liability would not be changed if the actions were brought individually

  instead of in a class action. Section 203 is plainly a severable claims processing rule applicable in

  Utah state court but with no effect before this Court. Curry parses the statute’s text to answer the


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  fundamental question of whether § 203(3)’s class action bar is a procedural rule or a substantive

  component of rights and remedies under the statute.6 It is procedural, and other cases are in accord.7

  There is simply no reason to conclude that the decision to include a class action bar reflected a

  legislative judgment on the scope of the rights or remedies conferred under the statute, much less

  sufficient justification to clear the high hurdle of finding a Rules Enabling Act problem.8

  Defendant offers no good reason for why the Court should find otherwise, and accordingly, the

  Motion should be denied.

      II.      Defendant’s CAFA Jurisdiction Challenge Fails Because it Cannot Show to a
               “Legal Certainty” that the Amount in Controversy Does Not Exceed $5,000,000

            Mayo’s second argument is baseless. It rests on the erroneous premise that each class

  member is entitled to just $500 in statutory damages and that the NISNPIA limitation period is

  just one year. But the statute plainly entitles each class member to $500 multiplied by the number

  of times Mayo failed to provide the notice required by § 13-37-201 in connection with a purchase

  of Mayo’s products between January 1, 2004 and the date on which the person’s information was




  6
     In Delgado v. Ocwen Loan Servicing, LLC, 2017 WL 5201079, at *9 (E.D.N.Y. Nov. 9, 2017)
  (unpublished) (Mot. at 10), the court did not undertake the same line-by-line analysis of the
  statutes’ class action bars as in Curry and treated the location of the class action bar as dispositive.
  Cf. Lisk v. Lumber One Wood Preserving, 792 F.3d 1331, 1336 (11th Cir. 2015)
  7
     See, e.g., In re Restasis Antitrust Litig., 355 F.Supp.3d 145, 156 (E.D.N.Y. 2018) (“Hawaii’s law
  regulates only when private plaintiffs can litigate the case. It does not alter the substantive elements
  of plaintiffs’ claims. … it is surely no more substantive than the statute at issue in Shady Grove,
  which barred class action suits for an entire category of claims.”); Los Lobos Renewable Power v.
  Americulture, Inc, 885 F.3d 659, 670 (10th Cir. 2018) citing Shady Grove (“The New Mexico
  [anti-SLAPP] statute does not alter the rules of decision by which a court will adjudicate the merits
  of the complaint. The statute alter[s] only how the claims are processed.”).
   8
      Defendant cites Murtagh v. Bed Bath & Beyond Inc., 2020 WL 4195126 (D. Colo. July 3,
   2020) (unpublished) and Friedman v. Dollar Thrifty Automotive Group, Inc., 2015 WL 8479746
   (D. Colo. Dec. 10, 2015) (unpublished) (Mot. at 10) both of which applied a class action bar from
   Colorado’s Consumer Protection Statute. These cases uncritically labeled the class action bar
   “substantive” without examining whether the bar was a procedural mechanism capable of being
   severed without impacting the balance of the statute’s rights and remedies.


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  rented or sold to a third party. Thus, all such compensation-driven disclosures that Mayo made

  during the three-year period preceding the filing of the case are actionable.

         “CAFA explicitly provides for aggregation of each class member’s claims in determining

  whether the amount of controversy is at least $5,000,000.” Blockbuster, Inc. v. Galeno, 472 F.3d

  53, 59 (2d Cir. 2006). Pursuant to the “very strict” standard that applies to jurisdictional challenges

  based on the amount in controversy, the defendant bears the burden of establishing, with

  “certainty,” that there is a “legal impossibility” of a class-wide recovery in excess of CAFA’s

  threshold. Woodmen of World Life Ins. Soc’y v. Manganaro, 342 F.3d 1213, 1217 (10th Cir. 2003);

  see also Id, 342 F.3d at 1216-17 (“There is a strong presumption favoring the amount alleged by

  the plaintiff.”).9 Here, because each class member is entitled to a statutory damage award of $500

  times the number of purchases made from Mayo between January 1, 2004 through the date on

  which Mayo sold or rented their nonpublic personal information to a third party, the only “legal

  certainty” capable of being drawn from the evidence accompanying the Motion is that the amount

  in controversy far exceeds CAFA’s threshold in the aggregate – even under a one-year limitation

  period, much less the proper three-year period.

         Specifically, the FAC alleges, and Defendant presents no evidence to refute, that between

  January 1, 2004 through the present, Defendant failed to provide the notice specified in § 13-37-



  9
    Mayo argues Plaintiff must establish jurisdictional facts by a preponderance of the evidence
  (citing McPhail v. Deere, 529 F.3d 947, 954-55 (10th Cir. 2008) (Mot. at 12)), but that rule only
  applies to defendants seeking removal to federal court. See id. at 953 (“If an in-state plaintiff suing
  an out-of-state defendant wishes to be in federal court, all the plaintiff needs to do is allege an
  amount in excess of $75,000 and he will get his way, unless the defendant is able to prove ‘to a
  legal certainty’ that the plaintiff’s claim cannot recover the alleged amount.”); Edelson PC v.
  Bandas L. Firm PC, 2018 WL 723287, at *13 (N.D. Ill. Feb. 6, 2018) (unpublished) (“[Defendant
  argues] that the court does not have original jurisdiction, even under CAFA, because Plaintiff has
  not demonstrated that the amount in controversy is greater than CAFA’s $5 million
  requirement…That requirement is satisfied, however, unless there is a legal certainty that [a
  potential] judgment will be less than the statutory threshold.).


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  201 to any of its customers before they made a purchase of any of Defendant’s products. FAC ¶

  75. NISNPIA therefore prohibited Mayo, during the applicable limitation period, from renting or

  selling to third parties any of its Utah-based customers’ nonpublic personal information it obtained

  in connection with customers’ purchases after January 1, 2004. See Utah Code § 13-37-202 (citing

  id., § 13-37-201). The statute thus provides a cause of action to any Utah-based customer whose

  nonpublic personal information was sold, rented, or otherwise disclosed by Mayo during the

  applicable limitation period, and entitles each such person to an award of statutory damages in an

  amount calculated by multiplying $500 by the number of purchases made by the person on or after

  January 1, 2004 (each of which was made without it having first provided the customer with the

  notice required by section 13-37-201) through the date on which it sold, rented, or otherwise

  disclosed the person’s nonpublic personal information to a third party, in addition to court costs.

  Utah Code § 13-37-203(1)(c) & id. 13-37-203(2)(a)-(b) (providing that “a commercial entity that

  violates this chapter is liable … for … $500 for each time the commercial entity fails to provide

  the notice required by this section in relation to the nonpublic personal information of the

  person[,]” in addition to “court costs”) (emphasis added); FAC ¶ 81 (“On behalf of herself and the

  Class, Plaintiff seeks: (1) $500.00 to Plaintiff and each Class member, for each time Defendant

  failed to provide them the notice required by the NISNPIA in relation to their Private Purchase

  Information, pursuant to Utah Code § 13-37-203(2)(a); and (2) costs pursuant to Utah Code § 13-

  37-203(2)(b).”) (emphasis added).

         The declaration of Frank Castellvi of Commerce Register, Inc., one of Mayo’s agents who

  facilitates the rental and sale of its customers’ nonpublic personal information, states that there

  were “7,633 unique Utah-based Mayo Purchasers that had their information rented or sold between

  March 12, 2023-March 12, 2024.” (Castellvi Decl. ¶ 8.). But Mayo fails to provide any evidence




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  reflecting the total number of purchases made by those 7,633 customers between January 1, 2004

  and the date on which their nonpublic personal information was sold or rented to a third party.

  However, given that the purchases made by these persons were primarily subscriptions to

  Defendant’s Mayo Clinic Health Letter publication – which is sold by it on a yearly basis, which

  customers typically purchase each year to renew, and which many customers purchase for both

  themselves and as gifts – it can reasonably be inferred that the total number of purchases made by

  these 7,633 customers (and thus the total number of times Defendant failed to provide these

  customers with the notice required by § 13-37-201) since January 1, 2004 is likely many times

  greater than 7,633.10 See, e.g., Grange Mut. Cas. Co. v. Safeco Ins. Co. of Am., 565 F. Supp. 2d

  779, 784-85 (E.D. Ky. 2008) (concluding that “the Court has jurisdiction to hear the action”

  because “it seems that when you combine the underlying damages and costs of [litigation],” the

  amount in controversy “very well could” meet the jurisdictional minimum); Kovacs v. Chesley,



  10
     The vast majority of the 7,633 persons whose information was rented by Mayo during the one-
  year period preceding the complaint made multiple purchases of its publications since January 1,
  2004. Using its subscription lookup tool for Mayo Clinic Health Letter, available at
  https://ssl.drgnetwork.com/ecom/mmv/app/live/subcustserv?org=MMV&publ=HL, a visitor can
  input the account number along with the ZIP code of a particular record contained in the Castellvi
  Declaration’s Exhibit A. Searches performed by Plaintiffs’ counsel of a handful of the records on
  the first page of this declaration reflect that nearly all of the subscriptions purchased were of a 12-
  month duration, and thus required recurring purchases each year to renew, and also reveal that
  many persons made purchases of subscriptions for themselves, as well as separate purchases of
  subscriptions as gifts for others. See Composite Ex. A hereto (four redacted pages yielded by
  searches of Mayo’s publicly available subscription database search tool for the accounts identified
  in rows 4, 5, 8, and 17 of Exhibit A to the Castellvi Declaration., each reflecting 12-month
  subscription purchases, with two (pp.1-2) reflecting instances of a person making purchases for
  both himself or herself as well as for another person as a gift). Also, many of the customers whose
  records appear in Exhibit A, all of whom Castellvi states had their information sold between March
  12, 2023 and March 12, 2024, most recently purchased a subscription after March 12, 2024 –
  confirming that many of these persons made multiple purchases from Mayo to renew their
  subscriptions since January 1, 2004. See, e.g., Comp. Ex. A at 3-4 (subscription information pages
  yielded by searches on Mayo’s publicly accessible tool for the records reflected in rows 8 and 17
  of Exhibit A to Castellvi Declaration, showing last purchase dates of April 29, 2024 and August
  6, 2024, respectively).


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  406 F.3d 393, 397 (6th Cir. 2005) (“Absolute certainty is not required. It is sufficient if there is a

  probability that the value of the matter in controversy exceeds the jurisdictional amount.”). Even

  assuming a one-year limitation period and an average of just 1.4 purchases by this group of 7,633

  people over the course of the roughly 20-year period since January 1, 2004, there is an aggregate

  sum of statutory damages at stake in this case in excess of $5 million (1.4 times 7,633 is 10,686.2,

  and 10,686.2 times $500 is $5,343,100).11 Thus, it is a clear impossibility, not a “legal certainty,”

  that the amount in controversy in this case is less than $5 million in the aggregate. See Interstate

  Med. Licensure, 2024 WL 3998288, at *5. The Motion should be denied on this basis alone.12

         Moreover, though the Court need not reach this issue to deny the Motion, the limitation

  period applicable to a NISNPIA claim is three years, not one as Defendant argues. In resolving

  Mayo’s jurisdictional challenge based on CAFA’s amount-in-controversy requirement, the Court

  should assume without deciding that the limitation period is three years, because its contention



  11
     Additionally, Defendant fails to submit any evidence reflecting the number of occasions on
  which it rented or sold each of its Utah-based customers’ nonpublic personal information to a third
  party. Even just two such disclosures of each person’s nonpublic personal information during the
  statutory period would double the amount of statutory damages to which each person is entitled
  under the statute. Notably, the Complaint alleges, and Defendant submits no evidence to refute,
  that Defendant rented and sold all of its customers’ nonpublic personal information to numerous
  third parties during the applicable limitation period. See FAC ¶¶ 5, 49-52, 67-70.
  12
     Even in the unlikely event the Court finds that the evidence submitted by Mayo is adequate to
  establish that CAFA’s amount-in-controversy requirement cannot be satisfied, the Court should
  follow the Tenth Circuit’s guidance and defer ruling until after Plaintiff has had a reasonable
  opportunity to conduct discovery on this issue (including examine the materials relied upon in the
  declarations submitted by Defendant), especially given that all of the relevant information and
  evidence is in Mayo’s (or its agents’) exclusive possession. See Sizova v. Nat’l Inst. of Standards
  & Tech., 282 F.3d 1320, 1326 (10th Cir. 2002); see also McPhail, 529 F.3d at 954 (instructing that
  a party may request a district court to defer ruling on a motion to remand for lack of jurisdiction
  until limited discovery has been completed); e.g., (all unpublished): Potts v. Westside Chrysler
  Jeep Dodge, LLC, 2021 WL 4129626, at *2 (W.D. Okla. Sept. 9, 2021) (permitting jurisdictional
  discovery to resolve amount in controversy challenge to jurisdiction); Cowan v. Devon Energy
  Corp., 2017 WL 5188059, at *1 (E.D. Okla. Nov. 8, 2017) (same) Cooper-Clark Found. v. Merit
  Energy Co., LLC, 2023 WL 7129872, at *2 (D. Kan. Oct. 30, 2023) (same); DMD Enterprises,
  Inc. v. Cent. States Trucking Co., 2020 WL 4451057, at *2 (W.D. Okla. July 31, 2020) (same).


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  that claims that accrued beyond the one-year period preceding the commencement of the case are

  time barred is an affirmative defense to liability that has no bearing on the jurisdictional inquiry

  before the Court at the motion to dismiss stage of litigation. See, e.g., Black v. Crowe, Paradis, &

  Albren, LLC, 2014 WL 3965043, at *2 (E.D. Ky. Aug. 13, 2014) (unpublished) (citing Kovacs,

  406 F.3d at 396) (finding amount in controversy requirement of CAFA adequately established,

  explaining that “[t]he central problem with [Defendant]’s position is that it impermissibly relies

  on an affirmative defense that constricts the class size beyond what is alleged in the complaint,”

  and that such attempts “to reduce the size of the alleged class falls outside the scope of the Court’s

  jurisdictional inquiry” because “[w]hereas a court considering a summary judgment motion could

  examine defenses,” “a court considering a dismissal for failure to meet the amount in controversy

  requirement cannot”); see also Galaria v. Nationwide Mut. Ins. Co., 663 F. App’x 384, 391 (6th

  Cir. 2016) (unpublished) (“The question whether Plaintiffs have a cause of action is a merits issue

  that is analytically distinct from the question whether a federal court has subject-matter

  jurisdiction.”).

          But even if the Court reaches the statute of limitation question on the merits, it should have

  little trouble concluding that NISNPIA claims are governed by the three-year limitation period

  found in Utah Code § 78B-305(4). Section § 78B-305(4) governs because a claim for violation of

  NISNPIA is a statutory cause of action and the statute itself does not provide a specific limitation

  period.13 Relegating this issue to a footnote, Defendant says that NISNPIA claims are governed by




  13
     “An action may be brought within three years . . . (4) for a liability created by the statutes of this
  state, other than for a penalty or forfeiture under the laws of this state, except where in special
  cases a different limitation is prescribed by the statutes of this state[.]”. Utah Code § 78B-305(4).


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  the one-year statute of limitations found in Utah Code § 78B-2-302(2)14 on the ground that the

  damages provided by the statute constitute a “state-imposed punitive measure” and thus a

  “penalty.” (Mot. at n.10). But Defendant’s only support for a one-year statute is a citation to In re

  Castletons, Inc., 990 F.2d 551, 557-58 (10th. Cir. 1998), concerning Utah’s Late Check Return

  Statute (“ULCRS”), Utah Code § 70A-4-302(a), which penalizes banks that dishonor a check but

  fail to return the check before midnight of the same banking day. Id. at 58. As another court of this

  District recognized, Castletons is unhelpful outside of the specific statutory context of the ULCRS.

  See Roberts v. C.R. England, Inc., 318 F.R.D. 457, 502 (D. Utah 2017) (Shelby, C.J.). Roberts

  involved the Utah Business Opportunity Disclosure Act (“UBODA”), Utah Code § 13-15-4,

  which, like the NISNPIA, is a notice statute. It requires the sellers of certain business opportunities

  to make disclosures to presale potential customers. 318 F.R.D. at 494-95. And like the NISNPIA,

  the UBODA contains a private right of action and establishes minimum statutory damages. In the

  case of the UBODA, its amount is set at $2,000. Utah Code § 13-15-6. But, unlike the NISNPIA,

  the UBODA expressly provides for “fines” and “civil penalties” to be obtained in actions brought

  by regulators, Utah Code. Ann. § 13-15-301, tracking closer to a penalty statute with a one-year

  limitations period. Yet, the court in Roberts nevertheless found that a one-year statute of

  limitations does not apply to UBODA claims stating: “Here, the statute imposing liability serves

  both a compensatory and punitive purpose. For example, an award of the statutory minimum may

  compensate an individual for actual damages less than $2,000, but would also penalize the seller

  for the difference between the statutory minimum and the actual damages. Roberts, 318 F.R.D. at

  502.



  14
    (2) “An action may be brought within one year . . . (2) upon a statute for a penalty or forfeiture
  where the action is given to an individual, or to an individual and the state, except when the statute
  imposing it prescribes a different limitation[.]” Utah Code § 78B-2-302(2).


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         Roberts noted that legislature’s characterization of the statutory award as a “penalty” would

  be significant in determining whether the award provision was a “state imposed punitive measure”

  under Section 78B-2-302(2) stating: “the Utah Legislature … would have included language, as it

  did elsewhere in the statute, referring to or characterizing the statutory award as a penalty. It did

  not.” Id. at 502-03. Roberts is directly applicable here because the $500 amount referenced in the

  NISNPIA does not refer to that statutory damage amount as a “penalty” at all. Indeed, nowhere in

  the statute does the word penalty appear. See, e.g., Curry, 2023 WL 6318108, at *7 (internal

  quotation omitted) (discussing NISNPIA’s Section 203(2)’s $500 damage award as a “remedy”

  and stating: “Section 203(2), in turn, creates the applicable remedy by defining what ‘a court can

  do for a litigant who has been wronged[.]’”. NISNPIA’s overall purpose is, like the UBODA, to

  provide informed consent to the consumer, and compensating consumers whose information was

  sold to third parties without having provided such consent. See Transcript of Proceedings, Utah

  House of Representatives, Feb. 6, 2003 (a copy of which is attached as Exhibit B hereto, at 9:14-

  21.) (Rep. Douglas C. Aagard, NISNPIA’s co-sponsor, explaining the statute’s intent is to confer

  “a right to privacy that an individual deserves” with respect to their nonpublic personal information

  collected by companies as a result of consumer transactions and that the statute’s effect is that “the

  consumer will be informed and the consumer will have the choice”); id. at 14:22-25. Because

  claims for violations of NISNPIA are designed to redress nonconsensual disclosures of nonpublic

  personal information to third parties for compensation, they are compensatory rather than punitive

  and, as such, are governed by Utah Code § 78B-305(4)’s three-year limitation period.15 It can thus



  15
     Cf. Fernwood Place LC v. Layton Partners Holdings LP, 2023 UT App 43, ¶ 12, 530 P.3d 165,
  169 (applying three-year limitation period under § 78B-2-305 for violation of Utah Wrongful Lien
  statute); Flowell Elec. Ass’n, Inc. v. Rhodes Pump, LLC, 2015 UT 87, 361 P.3d 91, 96 (same, under
  the High Voltage Overhead Lines Act, the “cause of action and associated liability are created
  wholly by a statute[.]”); Olsen v. Eagle Mountain City, 248 P.3d 465, 473 (same, under Utah Code


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  reasonably be inferred that the number of Utah-based customers whose information Mayo sold or

  rented to third parties during the three year period prior to the filing of the complaint is

  approximately triple the 7,633 figure provided in the Castellvi declaration, which would bring the

  amount in controversy to over $10 million aggregate under any metric (including even if assumed

  each of these customers made only one purchase since January 1, 2004, which is obviously not the

  case). It is thus far from a “legal certainty” that the amount in controversy here case is less than $5

  million in the aggregate.

            The FAC adequately pleads CAFA jurisdiction, and the Motion should be denied.
     III.      Plaintiff has Article III Standing

            Defendant asserts that Plaintiff does not have Article III standing because Plaintiff has not

  “clearly . . . allege[d] facts demonstrating” that she has suffered an injury in fact that is “concrete

  and particularized.” (Mot. at 15). Judge Parrish addressed this very argument in Curry II, 2024

  WL 3794487, at *3-5, and rejected it. This Court should follow suit.

            Plaintiff Has Clearly Alleged Tangible and Intangible Harm. Defendant claims that

  Plaintiff’s injuries cannot satisfy Article III because they “cause[d] no adverse effects,” and that

  Plaintiff must allege “downstream consequences.” (Mot. at 16). However, Plaintiff need not allege

  any additional “downstream” or “consequential” harms she suffered due to Defendant’s

  disclosures; the disclosure-based harm is sufficient for Article III. See Curry II, 2024 WL 3794487,

  at *5 n.8. Nonetheless, Plaintiff alleges that, “as a result” of Defendant’s disclosures of nonpublic

  personal information, she has suffered tangible harm. For example, Plaintiff has alleged that she

  “received a barrage of unwanted junk mail” (FAC ¶ 1), which causes “waste and inconvenience”

  and increases her exposure to “fraudulent sweepstakes, charities, and buying clubs.”16 (FAC ¶ 37).


  section 78B-2-305(4)); Scholzen v. Scholzen Prod. Co., 2020 WL 7630801, at *6 (D. Utah Dec.
  22, 2020) (same, for wage claim brought by employee under Utah Payment of Wages Act).
  16
     Defendant asserts, without support, that Plaintiff’s allegations of receipt of junk mail and its
  consequences are deficient because they do not include a specific causal connection between the
  disclosure and these intrusions. (Mot. at 16-17). Defendant ignores the specific words of the FAC:
  “[a]s a result.” (FAC ¶ 1). There is nothing speculative or conclusory about Plaintiff’s allegations.


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         Curry II also dispenses with the argument that pled violations of NISNPIA are insufficient

  intangible harms to confer Article III standing. Curry II, 2024 WL 3794487, at *5. The court held

  that “Mrs. Fields ‘widely communicate[d]’ their protected information, including to other parties

  themselves likely to further widely communicate it . . . reflect[ing] the sort of harm at issue in the

  tort of public disclosure” and “[t]hus, the plaintiffs ha[d] standing to pursue their claims.”17 Id.

  Examining Spokeo and TransUnion LLC v. Ramirez, 594 U.S. 413 (2021) in the context of

  intangible harms, Curry II noted how “both history and the judgment of Congress play important

  roles” in determining whether an intangible harm constitutes an injury in fact, and indicated that
  “it is instructive to consider whether an alleged intangible harm has a close relationship to a harm

  that has traditionally been regarded as providing a basis for a lawsuit in English or American

  courts.” Id. at *3-5 (quoting Spokeo, 578 U.S. at 340-41). The court explained how TransUnion

  “recite[d] a few such traditional harms: ‘reputational harms, disclosure of private information, and

  intrusion upon seclusion’” but also noted how “TransUnion . . . was also careful to emphasize that

  ‘[i]n looking to whether a plaintiff’s asserted harm has a “close relationship” to a harm traditionally

  recognized as providing a basis for a suit in American courts, [courts] do not require an exact

  duplicate.’” Curry II, 2024 WL 3794487, at *3 (quoting TransUnion, 594 U.S. at 425, 433).

  Rather, “the harms must be similar in kind, not degree.” Id. (quoting Shields v. Prof’l Bureau of

  Collections of Md., Inc., 55 F.4th 823, 828 (10th Cir. 2022)).

         As here, the defendant in Curry II argued that “the harm complained of was the failure to

  provide a disclosure, making the injury ‘informational’ by nature.” See id. at *4; cf., e.g., FAC ¶¶

  1, 37-39, 52, 59, 77, 80 (alleging far more than a so-called informational injury). This is consistent

  with the plain text of NISNPIA, the operative provision of which frames the prohibited act as

  disclosure: “a commercial entity may not disclose nonpublic personal information[.]” Id. at *4.

  Curry II rejected defendant’s argument because the plaintiffs there, as here, alleged that the

  Moreover, in this context “general factual allegations of injury” are sufficient. See Kansas Nat.
  Resource Coalition v. U.S. Dept. of Interior, 971 F.3d 1222, 1231 (10th Cir. 2020).
  17
     Crucially, here, Plaintiff alleges that Defendant’s disclosures of Plaintiff’s nonpersonal public
  information was highly offensive to Plaintiff and the average person. See FAC ¶¶ 52, 59, 77.


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  defendant “disclosed, without providing . . . the prior notice required by Utah Code § 13-37-201,

  Plaintiff[s’] . . . Private Purchase Information” to various third-party data companies. Id. The court

  found that “[b]ecause it centers on the disclosure of information, plaintiffs’ alleged harm is best

  compared to privacy torts such as public disclosure of private information and intrusion upon

  seclusion, rather than the conceptually distinct doctrine of informational injury.” Id. The proper

  focus for Article III standing is the harm caused by Defendant’s disclosures of Plaintiff’s nonpublic

  personal information to third parties. Such conduct creates liability under the statute and infringes

  upon Plaintiff’s concrete, NISNPIA-conferred right to keep such information private.
         Curry II also finds support for Article III standing under NISNPIA in Transunion. 2024

  WL 3794487, at *4 (“[u]nsurprisingly, courts around the country have determined that the

  disclosure of nonpublic personal information” described in Transunion “can provide the basis for

  Article III standing”). In TransUnion, the Court held that the dissemination of a misleading credit

  report constituted a concrete injury in fact under Article III. TransUnion, 594 U.S. at 432-33, 442.

  Here, Plaintiff alleges that Defendant sold her private personal information about purchases of

  consumer goods for profit to numerous third parties without prior notice, let alone consent. (FAC

  ¶¶ 8-55). TransUnion identified these types of disclosures as a “chief example[s] of the sort of

  harm traditionally recognized as providing a basis for [a suit] in American courts.”18 Id. at 425.

  The Tenth Circuit has followed TransUnion, holding that “disclosure of private information” and

  “intrusion upon seclusion” are examples of “concrete, intangible harms” that American courts have

  long recognized at common law and continue to manifest Article III standing. Seale v. Peacock,

  32 F.4th 1011, 1020 (10th Cir. 2022). Plaintiff alleges she suffered these exact harms. ( See FAC

  ¶¶ 52, 59, 77, 80).

         Public Disclosure of Private Information. Defendant, as the defendant did in Curry II,

  relies on the Tenth Circuit’s decision in Shields, arguing that disclosure of information to a third

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     Defendant acknowledges the same (Mot. at 18) ‒ Courts assessing Article III standing brought
  under personal privacy acts have consistently held that disclosures made in violation of such
  statutes necessarily result in an invasion of privacy that manifests an injury-in-fact sufficient to
  satisfy Article III. See, e.g., Pratt v. KSE Sportsman, 586 F. Supp. 3d 666, 677 (E.D. Mich. 2022).


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  party cannot constitute an intrusion on privacy. (Mot. at 18). But, as Curry II makes clear, Shields

  is inapposite. Curry II, 2024 WL 3794487, at *4-5. Shields was brought under a debt collections

  act, with the plaintiff alleging that sharing a debtor’s nonpublic information with a third-party

  mailer violated the act. Id. at *5 (noting that Shields involved “the disclosure of information to a

  single mail vendor whose role was limited to generating and sending a form letter”).19

         Defendant argues that Plaintiff’s personal information was not publicly disclosed. It

  ignores that a plaintiff can have Article III standing for a statutory claim even if she could not

  succeed on the closely-related traditional tort. Shields, 55 F.4th at 828. Plaintiff has alleged
  improper disclosure far beyond the data companies Defendant cites: the FAC alleges that

  Defendants “rented, sold, exchanged, and/or otherwise disclosed its customer lists containing

  Plaintiff’s Private Purchase Information . . . to third parties, including other consumer-facing

  companies, direct-mail advertisers” and other solicitors. (FAC ¶ 70). These sweeping disclosures

  easily satisfy the definition of “public disclosure of private facts, which is concerned with highly

  offensive information being widely known.” Shields, at 829 (citing Restatement (Second) of Torts

  § 652D cmt (Am. L. Inst. 1977)). And here, as in Curry II, Plaintiff alleges that Defendant offered

  to sell Plaintiff’s nonpublic personal information on the open market to anyone willing to purchase

  it and that Defendant sold such information numerous times to numerous third parties. As in Curry

  II, Plaintiff “allege[s] that Mrs. Fields markets their information openly, selling it to any buyer

  who is willing to pay[,]” disclosing “nonpublic personal information” to third parties “likely to

  further widely communicate it.” 2024 WL 3794487, at *5 (citing Shields, 55 F.4th at 829).

         Defendant’s widespread disclosures of Plaintiff’s nonpublic personal information to

  anyone interested in purchasing it (not just disclosure to a single vendor as in Shields) are plainly

  analogous to the common law tort of disclosure of private information and thus readily satisfy

  Article III’s concreteness test. See Curry II, 2024 WL 3794487, at *5 (“In deciding just how


  19
    The plaintiff argued that the disclosure of her debt information to the mailer was akin to the tort
  of public disclosure, but the court found the disclosure of nonpublic information to a private party
  middleman did not reflect the sort of harm protected by that tort. Shields, 55 F.4th at 829.


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  ‘public’ a disclosure must be . . . Shields . . . w[as] tasked with a simple line-drawing problem, and

  offered the obvious answer ‒ disclosure of information to a single private party (one who carries

  no risk or prospect of further disclosure . . .) is not only not public enough, it is not public at all.

  Shields and related cases must be considered in this context, rather than as standing for the broader

  proposition that disclosure-based injuries cannot provide a basis for standing generally.”); see also

  Bohnak v. Marsh & McLennan Co., 79 F.4th 276, 285-86 (2d Cir. 2023) (disclosure of personal

  information “to unauthorized third parties,” rather than to the public, has the requisite “close

  relationship” to the tort of public disclosure of private facts, with the court noting that it did not
  “stretch to reach this conclusion,” because “the intangible harm arising from disclosure of one’s

  [personal information] bears a relationship to an injury with a close historical or common-law

  analogue,” even if it is not “an exact duplicate”). Ultimately, formulating the precise degree of

  publicity under the common-law tort of public disclosure is unnecessary. See Curry II, 2024 WL

  3794487, at *5 (“The harm alleged by the plaintiffs here is qualitatively different from the private

  disclosure discussed in Shields and related cases and reflects the sort of harm at issue in the tort of

  public disclosure . . . . While this again invites the question of just how public is public enough to

  bear a close relationship with harm protected by the comparator tort of public disclosure, the court

  is satisfied that, wherever that line is, the plaintiffs here have crossed it.”); Krakauer v. Dish

  Network, L.L.C., 925 F.3d 643, 654 (4th Cir. 2019) (“Our inquiry is focused on types of harms

  protected at common law, not the precise point at which those harms become actionable.”).

         In enacting NISNPIA, the Utah legislature sought to protect the rights of consumers to keep

  nonpublic personal information private. NISNPIA created concrete privacy rights to prevent

  unauthorized and uninformed disclosures of such information and protect against intrusions into a

  person’s personal preferences and purchasing habits. See Utah Code § 13-37-201 & § 13-37-102

  (prohibiting commercial entities from disclosing any person’s “nonpublic personal information”

  obtained as a result of the person’s purchase of consumer goods from the company, unless the

  person was first noticed as specified in section 13-37-201, before transacting with the company).

  Many courts have found Article III standing exists to redress unauthorized disclosures of personal


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  information in violation of other personal privacy acts, confirming the concreteness of the injuries

  alleged by Plaintiff here. Perry v. Cable News Network, Inc., 854 F.3d 1336 (11th Cir. 2017); In

  re Nickelodeon Consumer Privacy Litig., 827 F.3d 262, 274 (3d Cir. 2016); Yershov v. Gannet

  Satellite Info. Network, Inc., 240 F. Supp. 3d 353, 361 (D. Mass. 2016).

         Intrusion Upon Seclusion. The harms alleged here are also akin to those covered by the

  traditional tort of intrusion upon seclusion. “Intrusion upon seclusion occurs when an individual

  ‘intentionally intrudes, physically or otherwise, upon the solicitude or seclusion of another or his

  private affairs or concerns . . . if the intrusion would be highly offensive to a reasonable person.’”
  Salazar v. Nat’l Basketball Ass’n, 685 F. Supp. 3d 232, 241 (S.D.N.Y. 2023) (quoting Restatement

  (Second) of Torts § 652B (1977)). Notably, an intrusion upon seclusion “does not depend upon

  any publicity given to the person whose interest is invaded or to his affairs.” Scott v. Hern, 216

  F.3d 897, 917 (10th Cir. 2000). As an example of the injury, the Restatement (Second) highlights

  that an intrusion into someone’s privacy includes opening one’s private mail. Restatement

  (Second) of Torts § 652B, cmt. b. “The intrusion itself makes the defendant subject to liability,

  even though there is no publication or other use of any kind of the . . . information outlined.” Id.

  Defendant argues, though, that Plaintiff’s claims lack a historical common law analogue. But she

  has adequately pled such a claim. See, e.g., FAC ¶¶ 152, 59, 77, 80. As discussed, Plaintiff’s

  allegations of public disclosure are qualitatively different from the “gravamen” of the comparator

  tort at issue in Defendant’s Shields, Hunstein v. Preferred Collection & Mgmt. Servs., 48 F.4th

  1236 (11th Cir. 2022), and Nabozny v. Optio Sols. LLC, 84 F.4th 731 (7th Cir. 2023). Shields

  merely “considered publicity as requisite to the comparator tort of public disclosure, not intrusion

  upon seclusion and, more importantly, the plaintiffs’ allegations[,]” as here, also “are easily

  distinguishable from the facts alleged in Shields.” See Curry II, 2024 WL 3794487, at *4 (emphasis

  in original). Plaintiff alleges that Defendant markets her private information openly to any buyer

  who is willing to pay, including data companies and “third parties, including other consumer-

  facing companies, direct-mail advertisers[,]” and solicitors ‒ in exchange for lists containing the

  private purchase information of those third-party companies’ customers. (FAC ¶¶ 1, 5, 11, 49-52).


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          Following TransUnion, courts have had little difficulty finding common law analogues to

  the tort of intrusion upon seclusion for purposes of satisfying Article III.20 See Salazar, 685 F.

  Supp. 3d at 241 (“Plaintiff’s claim that Defendant purposefully shared his private viewing

  information with a third party without Plaintiff’s knowledge or consent is akin to” an “intrusion .

  . . upon [her] private affairs or concerns” that “would be highly offensive to a reasonable person”);

  Feldman v. Star Trib. Media Co. LLC, 659 F.Supp.3d 1056 (D. Minn. 2023) (disclosures of private

  video viewing history with Facebook found analogous to the tort of intrusion of seclusion).

          Finally, Defendant contends that there can be no Article III standing based on allegations
  of intangible harm without a showing that it would be “highly offensive to a reasonable person.”

  (Mot. at 20). Defendant argues that the NISNPIA is merely concerned with the failure to provide

  notice prior to the collection of nonpublic personal information that is subsequently disclosed and

  that it is the lack of notice that must satisfy the “highly offensive” requirement. Id. In fact, it is the

  alleged harm resulting from the failure to provide notice (and an opportunity for a customer to opt

  out of receiving the newsletter) that matters. Shields, supra, 55 F.4th at 828-29. Moreover, Curry

  II considered and rejected any such argument requiring the element of offensiveness in a NISNPIA

  suit, noting that the Tenth Circuit does not require an element-by-element approach to the

  comparator tort, such as offensiveness here, to establish standing. Curry II, 2024 WL 3794487, at

  *5 n.8 (noting that Lupia did not consider every element of the comparator tort of intrusion upon

  seclusion before confirming standing). Plaintiff adequately states a claim. “At the pleading stage,

  general factual allegations of injury resulting from the defendant’s conduct may suffice.” Kan.

  Nat. Res. Coal. v. U.S. Dep’t of Interior, 971 F.3d 1222, 1231 (10th Cir. 2020).

          Plaintiff adequately alleges that Defendant’s improper disclosures “intruded substantially

  upon [her] solitude and seclusion (including the personal affairs and concerns)” “in a way that was


  20
     Lupia v. Medicredit, Inc., 8 F.4th 1184, 1191 (10th Cir. 2021) (“At common law, courts readily
  recognized a concrete injury arising from the tort of intrusion upon seclusion ‒ a tort protecting
  against defendants who intrude into the private solitude of another”). While, as discussed in Curry
  II, in Shields, the plaintiff failed to allege that her private solitude had been intruded, failing to link
  the statutory violation to intrusion upon seclusion. See Curry II, 2024 WL 3794487, at *4 n.5.


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  highly offensive to Plaintiff and would be highly offensive to a reasonable person[.]” (FAC ¶ 77).

  See, e.g., Salazar, 685 F. Supp. 3d 241 (finding the same based upon factual allegations similar to

  those found in the FAC) (citing Lujan v. Defs. of Wildlife, 504 U.S. 555, 561 (1992)) (finding

  “general factual allegations of injury resulting from the defendant’s conduct may suffice” at the

  pleading stage). The FAC contains allegations concerning Defendant’s disclosure practices from

  which it may be reasonably inferred that Defendant’s disclosures of Plaintiff’s nonpublic personal

  information to third parties for compensation were intrusive of Plaintiff’s private affairs or

  concerns (e.g., “purchasing habits” and “personal preferences”), and that those disclosures would
  be highly offensive to a reasonable person (e.g., FAC ¶¶ 1, 39, 54). And the determination of

  whether these disclosures would be considered highly offensive to a reasonable person is plainly

  an issue of fact suitable for a summary judgment motion, not a motion to dismiss. The Motion’s

  standing challenge should be denied.

       IV.      Plaintiff Has Stated a NISNPIA Claim Because Mayo Is a Commercial Entity
             NISNPIA applies to a “commercial entity” that has an office “or other place of business

  located in [Utah]” and “in the ordinary course of business transacts a consumer transaction in”

  Utah. Utah Code §§13-37-102(2)(a), 13-37-203(1). Plaintiff has alleged that Defendant “has one

  or more office(s) or other place(s) of business in Utah … Additionally, [Defendant] has employees

  who work for [Defendant] from Utah (and thus conduct business on [Defendant’s] behalf at places

  in Utah.” (FAC ¶ 14). Plaintiff also alleges that Defendant “does business throughout Utah … and,

  in the ordinary course of its business, enters into transactions with consumers in Utah.” FAC ¶ 15.

             The Motion does not dispute that Defendant transacts business in Utah. Rather,

  Defendant’s contention is that it lacks a “footprint” in Utah. (Mot. at 25). However, Defendant

  identified in its application to Utah’s Department of Commerce its agent as “CT Corporation

  System” and provided an address of 163 South Temple, Suite 2100, Salt Lake City Utah. (Comp.

  Ex. C).21 The relevant provisions of the Utah Revised Business Corporation Act confirm that the

  21
    The FAC identifies Defendant’s place of business as 15 West South Temple, Ste 600, Salt Lake
  City (FAC, ¶ 14), which Defendant claims belongs to “Corporation Service Company” (Mot. at


                                                   22
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  address provided by Defendant on this document is the “registered office” of the Defendant. See

  Utah Code 16-10a-102(30) (“Registered office” means the office within this state designated by

  a domestic or foreign corporation as its registered office in the most recent document on file

  with the division providing that information[.]”). Because CT Corporation System is a

  “commercial registered agent” (see Ex. C), Utah Code § 16-17-203(1) only required “the name of

  [Defendant’s] commercial registered agent,” id., § 16-17-203(1)(a) – not “the name and address

  of the entity’s noncommercial registered agent” – on the application. Id. § 16-17-203(1)(b)(i).

  Thus, the Application completed by Defendant with the addressed disclosed in the FAC, identifies
  the address of Defendant’s “office in Utah” for purposes of NINSPIA. And it makes no difference

  that Defendant has appointed an agent to accept service of process on its behalf at its registered

  office, or even that the office is maintained by that agent. A principal (in this case the Defendant)

  acts through its agent, and the agent stands in the shoes of the principal in the eyes of the law. An

  office maintained by Defendant’s agent on Defendant’s behalf and at Defendant’s direction, where

  Defendant, inter alia, receives mail and accepts service of legal documents, clearly constitutes an

  “office” of (or a “place of business of”) Defendant within the meaning of Utah’s statutes.

         Additionally, the FAC identifies that Defendant has “one or more office(s) or other

  place(s) of business in Utah.” Defendant cannot assert that the FAC fails to allege that Defendant

  has an office or other place of business in Utah based solely on the contention that the one address

  named is that of its registered agent. The Court is obligated to accept the FAC’s allegations as true

  and construe them in the light most favorable to the plaintiff. See Jojola v. Chavez, 55 F.3d 488,

  490 (10th Cir. 1995). Moreover, Plaintiff need not describe “every fact in specific detail[,]”

  Hamilton v. Angerhofer, No. 2:15-CV-344 DB, 2017 WL 935885, at *1 (D. Utah Mar. 8, 2017),

  but only “enough facts to state a claim to relief that is plausible on its face.” Bell Atlantic Corp. v.

  Twombly, 550 U.S. 544, 547 (2007). Whether Defendant had any other office(s) remains an open


  24), a different registered agent than the one disclosed in its application with the Department of
  Commerce. But whether Defendant has changed its registered agent since its initial registration is
  of no moment.


                                                    23
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  question, one which ultimately will be answered through discovery.22 But at this stage of the

  proceedings, Plaintiff has alleged facts which, consistent with Rule 8, plausibly give rise to

  Defendant being a NISNPIA-covered “commercial entity”. Similarly, the definition of “other place

  of business” is a question of fact and subject to discovery. Even were it not, it fails to address

  Plaintiff’s allegation that it “has employees who work for Mayo from Utah (and thus conduct

  business on Mayo’s behalf at places in Utah).”23 (FAC ¶ 14). Taken as true, this allegation meets

  the statute’s requirement that Mayo has an office “or other place of business located in [Utah].”

          Defendant also argues that NISNPIA’s legislative history “reinforces that the law is limited
  to Utah-based companies” based on a self-serving extrapolation from a two-line exchange between

  a legislator and the NISNPIA’s sponsor Rep. Aagard discussing a non-final version of the bill

  wherein Rep. Aagard stated that the NISNPIA applies to companies domiciled in Utah as opposed

  to “national companies”.24 (Mot. at 23). The argument is meritless. First, a statute’s legislative

  history is only relevant at all if the Court finds initially that the statute is ambiguous on its face.

  See Phillips Petroleum Co. v. Lujan, 4 F.3d 858, 861 (10th Cir. 1993) (“The best evidence of

  Congressional intent is the text of the statute itself and where the language is unambiguous, our

  inquiry is complete.”) Here, the NISNPIA statute could not be clearer – the “commercial entity”

  requirement does not have a “domiciled in Utah” component on its face and hence the Court need

  not look to legislative history.

          Second, Mayo’s contention is untenable because it seeks to undermine the statute’s plain

  language based on cherry-picked statements concerning the notion of domicile, a concept, which

  if it factored into the design of the statute at all, was obviously left behind in the legislative process.


  22
     For example, per Ex. C, Defendant has also registered “Mayo Clinic Store Siebens” in Utah.
  23
     Ex. C confirms the FAC’s allegation that Defendant has employees who work from Utah.
  24
     The referenced discussion concerned a non-final version of the bill. See Ex. A at 7:12-20. Aside
  from the fact that the final version of the statute did not include any requirement that company be
  domiciled in the Utah to be subject to liability, the discussed effective date was May 5, 2003. This
  was met with concern that businesses would not have enough time to become compliant. (Id).
  Legislators went back to the drawing board on this issue, among others, as the final version of the
  bill had an effective date of January 1, 2004. See Utah Code § 13-37-202(1).


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  The plain statutory text must control and the Court is bound to apply the statute as passed, not as

  it may have been contemplated at some earlier point in time. See Zilleruelo v. Commodity

  Transporters, Inc., 2022 UT 1, ¶ 34, 506 P.3d 509, 515–16 (citation omitted) (“[S]tatements of

  individual legislators ‘should not be entitled to any weight’ when the statements contradict the

  plain language of a statute.”). This Court should decline Mayo’s invitation to second-guess the

  judgement of the Utah legislature by reading an unwritten “Utah-based company” requirement

  into the NISNPIA.25

         Further, Defendant’s argument as to what Plaintiff’s counsel may have argued in another
  case simply has no bearing here. (Mot. at 25). The issue in Curry was whether, as the defendant

  asserted, NISNPIA’s protection was only limited to Utah residents, a notion Judge Parrish rejected

  as “infirm” under the statute’s plain language. See Curry II, 2024 WL 3794487, at *6 (D. Utah

  Aug. 13, 2024). Plaintiff’s argument that NISNPIA covers “Utah-based” companies – which was

  not at issue in Mrs. Fields – is not inconsistent with the FAC’s allegations or the NISNIPA’s

  definition of commercial entity. See Hansen v. Harper Excavating, Inc., 641 F.3d 1216, 1227 (10th

  Cir. 2011) (judicial estoppel requires a party take an inconsistent position). The FAC states a claim,

  and the Motion should be denied.

                                            CONCLUSION

         Based on the above, Defendant’s Motion to Dismiss should be denied in its entirety.

  Dated: September 19, 2024              Respectfully submitted,


  25
     Defendant’s reliance on the unpublished Camoras v. Publishers Clearing House, 2024 WL
  2262786 (D. Utah May 17, 2024) (Mot. at 24) is misplaced. Camoras is a non-final order of a
  Magistrate Judge to which Plaintiff’s objections are still pending before the district court. See
  Camoras, 4:23-cv-00118-DN-PK (Dkt. 26) (Jun. 1, 2024). The Camoras plaintiff’s objections
  assert that the Magistrate exceeded the bounds of 28 U.S.C. §636(b)(1) by issuing dispositive
  orders instead of issuing a report and recommendation, compounded this error by reaching a case
  dispositive issue without adversarial briefing, and misapplied Fed. R. Civ. P. 15 and Fed. R. Civ.
  P. 8 by denying Plaintiff the ability to amend his Complaint. (See generally, id.). Plaintiff submits
  that even if Camoras is adopted by the district court, it was wrongly decided.

  ..


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                                     PETERS ❘ SCOFIELD
                                     A Professional Corporation

                                     /s/ David W. Scofield
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                                            -and-

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